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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   CENTRAL DIVISION


 UNITED STATES OF AMERICA,              )
                                        )               Case No. 4:17−cv−40011−TSH
           Plaintiff,                   )
                                        )               Judge Timothy S. Hillman
           v.                           )
                                        )
 DAVID L. TOPPIN,                       )
 JENNIFER TOPPIN,                       )
 DEUTSCHE BANK NATIONAL TRUST           )
 COMPANY as Trustee for RESIDENTIAL     )
 ASSET SECURITIZATION TRUST SERIES )
 2013-A14, MORTGAGE PASS-THROUGH )
 CERTIFICATES SERIES 2003-N,            )
 UPS CAPITAL BUSINESS CREDIT f/k/a,     )
 FIRST INTERNATIONAL BANK,              )
 COMMONWEALTH OF MASSACHUSETTS, )
 TOWN OF HOLDEN,                        )
 TOWN OF AMHERST, and                   )
 TOWN OF GARDNER,                       )
                                        )
           Defendants.                  )
 _______________________________________)

                       Plaintiff United States of America’s Status Report

       The plaintiff United States of America, through its undersigned counsel, provides the

following status report to the Court in advance of the status conference set for February 5, 2019,

so that the parties and the Court can have a meaningful dialogue regarding the upcoming

schedule in this this matter and how it should proceed. Separately, the United States will file a

response to the defendant David L. Toppin’s third, fourth, and fifth “Motions to Dismiss” (Docs.

70, 75, and 76), because these documents were filed immediately prior to or during the lapse in

appropriations, and the United States was precluded from responding due to the case being

stayed. See Doc. 77.




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       As it pertains to the upcoming status conference, the government notes that the deadline

for service of requests for the production of documents, interrogatories, and requests for

admission lapsed on December 1, 2019. See Doc. 60, ¶3. Prior to the deadline, the government

served requests for production, interrogatories, and requests for admission on the defendant

Jennifer L. Toppin regarding the amended complaint’s fraudulent transfer counts as to the

Holden Property, Amherst Property, and Gardner Property. The response date to these discovery

requests has been extended by agreement of counsel due to the intervening holidays and lapse in

appropriations. The government did not serve discovery requests on the defendant David L.

Toppin because, as of December 1, 2018, he had failed to provide initial disclosures, had failed

to serve an answer to the amended complaint, and the government was waiting on the Clerk of

the Court to take action on its request for entry of default that it filed on November 5, 2018, in

preparation for filing a motion for default judgment against Mr. Toppin. See Doc. 66.

       Mr. Toppin responded to the request for Clerk’s Default by filing a second motion to

dismiss that contained no new grounds for dismissal from those in his first motion to dismiss.

Compare Doc. 42 with Doc. 68. On December 6, 2018, the Court denied Mr. Toppin’s second

motion to dismiss, and gave him 10 days to file a Rule 8-compliant answer. See Doc. 69. In

response, starting on December 14, 2018, Mr. Toppin filed several documents which all appear

to be similar to his prior motions to dismiss. To comply with the Court’s order that he file an

answer, Mr. Toppin appended a blanket denial of all allegations in the amended complaint

without regard to facts of which Mr. Toppin clearly has knowledge. See Doc. 70, p.2. While the

United States will address these filings separately, because the defendant David L. Toppin

denied each and every allegation in the amended complaint after discovery closed, the United

States could not take any discovery to ascertain which facts in this case are truly in dispute.

Accordingly, if the Court is inclined to truly accept Mr. Toppin’s filings as an answer that

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complies with the Federal Rules, it appears that at the upcoming status conference a modification

of the scheduling order will be required so that meaningful discovery can occur regarding Mr.

Toppin’s federal tax liabilities,

        The plaintiff United States will be prepared to discuss a modification of the scheduling

order regarding discovery as it pertains to the defendant David L. Toppin’s recent filings, if it

appears that his general denials and affirmative defenses have any merit that warrant the re-

opening of discovery in the case.

        Dated: January 31, 2019

                                                     Respectfully submitted,

                                                     RICHARD E. ZUCKERMAN
                                                     Principal Deputy Assistant Attorney General
                                                     U.S. Department of Justice – Tax Division

                                                     /s/ Jeffrey N. Nuñez
                                                     JEFFREY N. NUÑEZ
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                                         Certificate of Service

        I, Jeffrey N. Nunez, pursuant to D. Mass. Civ. L.R. 5.2(b), hereby certify that on January
31, 2019, I electronically filed the foregoing document with the Clerk of the Court using the
Court’s CM/ECF system, which will send notification of such filing to all registered participants,
and that I mailed a copy of the same to the following non-registered CM/ECF party via prepaid
First Class United States Mail:

David L. Toppin
465 Salisbury Street
Holden, MA 01520


                                                    /s/ Jeffrey N. Nuñez
                                                    JEFFREY N. NUÑEZ
                                                    Trial Attorney, Tax Division
                                                    U.S. Department of Justice




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